










Opinion issued May 12, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00625–CV




TAMUNOSIKI A. OPUIYO, Appellant

V.

UNIVERSITY OF HOUSTON-DOWNTOWN, Appellee




On Appeal from the 164th District Court
Harris County, Texas
Trial Court Cause No. 2002-52174




MEMORANDUM OPINIONAppellant Tamunosikia Opuiyo has failed to timely file a brief.  See Tex. R.
App. P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal
was subject to dismissal, appellant Tamuosikia Opuiyo did not adequately respond. 
See Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings and Keyes.


